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              EXHIBIT 2
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                                                              1
10/16/2017                                           DHL: Schedule a pickup: Review
                            Case 1:17-cv-01986-RJL Document     12-2 Filed 10/27/17
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                                                                                                1 of 6
                                                                                                     1
                                                                                                                         English    Contact Center     Tools     Country Profile    DHL Global    




      Express   Logistics    Mail   Press    Careers     About Us                                                                           Content Search                                   Go



                                    Schedule a Pick­up: Confirmation
                                                             Enter                                             Confirmation


                                    Pick­up scheduled for:
    My DHL Express                  Monday, October 16, 2017
                                    Between 3:00 pm and 6:00 pm
                                    Confirmation number: 573376
     Shipping
     Tracking                       Please keep your confirmation number for your reference. If you need further assistance with this pick­up,
     Customs Services and Support   please contact us.
     Export Services                  Schedule another Pick­up
     Import Services                  Cancel request
     Optional Services
     Small Business Solutions
     Resource Center                Next time save some money.
                                    Use a DHL shipping spot, retail, drop box, or service center.
                                      Find my nearest drop­off location




https://sbw.dhl­usa.com/SchedulePickup/SchedulePickupConfirm.asp?nav=SbcPickup                                                                                                                    1/1
10/24/2017                             Tracking, TrackDocument
                        Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                    13-2 Shipments
                                                                             Filed| DHL Express Tracking
                                                                                     10/27/17      Page 4 of 6
                                                                                      English      Contact Center             Country Profile




Track DHL Express Shipments
Here’s the fastest way to check the status of your shipment. No need to call Customer Service – our online results give you real-time, detailed
progress as your shipment speeds through the DHL network.



Result Summary
        Waybill: 9043795246                                Monday, October 23, 2017 at 12:03                     1 Piece
                                                           Origin Service Area:
        Signed for by: SIMON RUCHUS                         WASHINGTON - RONALD REAGAN NATIONAL, DC -
         Get Proof of Delivery                              WASHINGTON - USA
                                                           Destination Service Area:
                                                            DAR ES SALAAM - DODOMA - TANZANIA

 Monday, October 23, 2017                                  Location                               Time        Piece

 18      Delivered - Signed for by : SIMON RUCHUS          DODOMA                                 12:03
 Thursday, October 19, 2017                                Location                               Time        Piece
 17      Forwarded for delivery                            DAR ES SALAAM - TANZANIA               20:41             1 Piece

 16      Arrived at Delivery Facility in DAR ES            DAR ES SALAAM - TANZANIA               07:10             1 Piece
         SALAAM - TANZANIA
 15      Arrived at Sort Facility DAR ES SALAAM -          DAR ES SALAAM - TANZANIA               07:05             1 Piece
         TANZANIA

 Wednesday, October 18, 2017                               Location                               Time        Piece
 14      Departed Facility in AMSTERDAM -                  AMSTERDAM - NETHERLANDS, THE           08:10             1 Piece
         NETHERLANDS, THE
 13      Processed at AMSTERDAM -                          AMSTERDAM - NETHERLANDS, THE           07:11             1 Piece
         NETHERLANDS, THE

 12      Arrived at Sort Facility AMSTERDAM -              AMSTERDAM - NETHERLANDS, THE           04:45             1 Piece
         NETHERLANDS, THE
 11      Departed Facility in LEIPZIG - GERMANY            LEIPZIG - GERMANY                      03:30             1 Piece

 10      Processed at LEIPZIG - GERMANY                    LEIPZIG - GERMANY                      02:34             1 Piece

 Tuesday, October 17, 2017                                 Location                               Time        Piece
 9       Shipment arrived at incorrect facility. Sent to   LEIPZIG - GERMANY                      23:19
         correct destination

 8       Arrived at Sort Facility LEIPZIG - GERMANY        LEIPZIG - GERMANY                      22:03             1 Piece

 7       Departed Facility in CINCINNATI HUB - USA         CINCINNATI HUB, OH - USA               07:12             1 Piece
 6       Processed at CINCINNATI HUB - USA                 CINCINNATI HUB, OH - USA               06:05             1 Piece

 Monday, October 16, 2017                                  Location                               Time        Piece
 5       Departed Facility in BALTIMORE AIRPORT -          BALTIMORE AIRPORT, MD - USA            23:55             1 Piece
         USA

 4       Processed at BALTIMORE AIRPORT - USA              BALTIMORE AIRPORT, MD - USA            23:50             1 Piece
 3       Departed Facility in WASHINGTON -                 WASHINGTON - RONALD REAGAN             21:36             1 Piece
         RONALD REAGAN NATIONAL - USA                      NATIONAL, DC - USA
 2       Processed at WASHINGTON - RONALD                  WASHINGTON - RONALD REAGAN             21:36             1 Piece
         REAGAN NATIONAL - USA                             NATIONAL, DC - USA

 1       Shipment picked up                                WASHINGTON - RONALD REAGAN             16:50
                                                           NATIONAL, DC - USA




http://www.dhl.com/en/express/tracking.html?AWB=9043795246&brand=DHL                                                                            1/2
10/24/2017                           Tracking, TrackDocument
                      Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                  13-2 Shipments
                                                                           Filed| DHL Express Tracking
                                                                                   10/27/17      Page 5 of 6
If you would prefer to speak to someone personally about the location of your shipment, please contact DHL Express Customer Service.

    Terms & Conditions
    Tracking FAQs




http://www.dhl.com/en/express/tracking.html?AWB=9043795246&brand=DHL                                                                   2/2
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23 October 2017
Dear Customer,
This is a proof of delivery / statement of final status for the shipment with waybill number 9043795246.
Thank you for choosing DHL Express.
www.dhl.com


 Your shipment 9043795246 was delivered on 23 October 2017 at 12.03

 Signed                 SIMON RUCHUS                           Destination Service Area        DAR ES SALAAM
                                                                                               TANZANIA

                                                               Shipment Status                 Delivered

                                                               Piece ID(s)                     JD014600004880803298



 Additional Shipment Details
 Service                EXPRESS WORLDWIDE doc                  Origin Service Area             WASHINGTON - RONALD
                                                                                               REAGAN NATIONAL
 Picked Up              16 October 2017 at 16.50
                                                                                               UNITED STATES OF AMERICA
                                                               Shipper Reference               238040001 17CV1986
